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 9
10                                UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12
13    DREAM BIG MEDIA INC., et al.,                           Case No.: 22-cv-02314-RS
14
                              Plaintiffs                      STATEMENT OF INTEREST OF
15                                                            THE UNITED STATES OF
                      v.                                      AMERICA
16
      ALPHABET, INC., et al.,                                 Hon. Richard Seeborg
17
18                            Defendants.
19
20           The United States respectfully submits this statement under 28 U.S.C. § 517, which
21   permits the Attorney General to direct any officer of the U.S. Department of Justice to attend to
22   the interests of the United States in any case pending in a federal court. The United States
23   enforces the federal antitrust laws, including the Sherman Act, 15 U.S.C. §§ 1 and 2, et seq., and
24   has a strong interest in their correct application.
25           The United States files this Statement of Interest in connection with the Court’s order for
26   additional briefing, ECF No. 61 (“Briefing Order”), relating to Defendants’ Motion to Dismiss
27   Plaintiffs’ First Amended Complaint, which followed reassignment of the matter to this Court.
28   The United States takes no position on the ultimate resolution of Defendants’ Motion to Dismiss.

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 1           This statement addresses the prior court’s overly broad holding in dismissing the original
 2   complaint in this case, which stated that “Google has the right to dictate the terms on which it
 3   will permit its customers to use and display its mapping services.” ECF No. 45 (“MTD Order”)
 4   at 5 (citing Sambreel Holdings LLC v. Facebook, Inc., 906 F. Supp. 2d 1070, 1080 (S.D. Cal.
 5   2012)). There is no such unqualified “right.”
 6           Defendants and the prior decision rely heavily on Sambreel. In Sambreel, the court
 7   disposed of a tying claim because plaintiff failed both to plead cognizable markets and to allege
 8   sufficient harm to competition. 906 F. Supp. 2d at 1080-81. In dicta, the Sambreel court opined
 9   that users “have no fundamental right to use Facebook” and that Facebook “has a right to dictate
10   the terms on which it will permit its users to take advantage of the Facebook social network.” Id.
11   at 1080.
12           Relying on this dicta, the prior ruling previously disposed of the tying claim here on the
13   ground that “Google has the right to dictate the terms on which it will permit its customers to use
14   and display its mapping services.” MTD Order at 5. And Google has argued the same in this
15   Court on the pending motion. This reasoning is incorrect. As this Court has noted, under this
16   reading of Sambreel, “it is difficult to imagine any circumstances under which a tying
17   arrangement, positive or negative, could not be justified as merely an exercise of the defendant’s
18   ‘right’ to ‘determine’ or ‘dictate’ the terms on which its own product or service is used.” Briefing
19   Order at 3.
20           Indeed, in its historic monopolization case, the D.C. Circuit rejected a similar argument
21   advanced by Microsoft. There, Microsoft argued that its “license restrictions are legally justified
22   because, in imposing them, Microsoft is simply ‘exercising its rights as the holder of valid
23   copyrights.’” United States v. Microsoft Corp., 253 F.3d 34, 62-63 (D.C. Cir. 2001) (quoting
24   Microsoft’s brief). The D.C. Circuit concluded this “argument borders upon the frivolous,” as the
25   claim that a company has “an absolute and unfettered right to use its intellectual property as it
26   wishes” was “no more correct than the proposition that use of one’s personal property, such as a
27   baseball bat, cannot give rise to tort liability.” Id. at 63.
28   //

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 1          The Microsoft court’s conclusion is consistent with long-standing precedent recognizing
 2   the antitrust laws impose limits on the “right” of a company to dictate the terms on which it will
 3   do business. As the Supreme Court recognized in Lorain Journal Co. v. United States, “[m]ost
 4   rights are qualified.” 342 U.S. 143, 155 (1951). There is no unqualified right for a company to,
 5   for example, “select its customers and to refuse to accept advertisements from whomever it
 6   pleases” when its conduct runs into the Sherman Act’s prohibitions. Id.; see also Otter Tail
 7   Power Co. v. United States, 410 U.S. 366, 380 (1973) (the Sherman Act imposes limits on a
 8   company’s “uses of its dominant economic power”); United States v. Colgate & Co., 250 U.S.
 9   300, 307 (1919) (explaining that the Sherman Act imposes limits on a company’s ability to
10   “exercise his own independent discretion as to parties with whom he will deal”); Chase Mfg. v.
11   Johns Manville Corp., 2023 U.S. App. LEXIS 28328 at *23 (10th Cir. Oct. 25, 2023) (reversing
12   grant of summary judgment where dominant firm threatened that its distributors must “stop
13   doing business with [its rival] or lose access to [the dominant firm’s] enormous thermal-
14   insulation inventory”).
15          The same principles apply here. Google has no unqualified right to determine how its
16   mapping products may be used or displayed; rather, it is subject to the normal operation of the
17   antitrust laws, including those governing positive and negative tying. It is important for this
18   Court to reject the expansive and inaccurate holding from the prior ruling, which could be read to
19   inappropriately limit the application of those laws.
20          Accordingly, the United States respectfully requests consideration of this Statement of
21   Interest, and welcomes the opportunity to provide further assistance at the Court’s request.
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     Respectfully submitted,
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